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                                   STATEMENT OF FACTS

        Your affiant, VINCENT J. MANCO, is a Detective/Task Force Officer (“TFO”) with the
Federal Bureau of Investigation (“FBI”) assigned to the Joint Terrorism Task Force (“JTTF”) in
New York. In my duties as a TFO, I investigate violations of laws of the United States. Currently,
I am a tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a TFO, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about January 7, 2021, an anonymous tip was submitted to the FBI stating that Sara
Carpenter had called a relative and stated that she was inside the Capitol Building on January 6,
2021 and was teargassed, then returned home that night. The tip provided Carpenter’s street
address in Richmond Hill, New York as part of her identification.

        On or about January 18, 2021, members of FBI JTTF, including your affiant, conducted a
voluntary interview of Sara Carpenter (“Carpenter”). Carpenter is a 51-year old American citizen
who resides Richmond Hill, New York. TFOs conducting the interview confirmed Carpenter’s
identity by reviewing her NY State driver’s license. During this interview, Carpenter stated that
she left her residence in New York and drove to Washington, D.C. on or about the evening of
January 5, 2021.

       EZ-Pass records for the account owned by Sara Carpenter show toll charges progressing
from the New York area toward Washington D.C. between approximately 12:00 a.m. and 4:00
a.m. on January 6, 2021.

        During the January 18, 2021 interview with FBI, Carpenter stated that after she arrived in
Washington D.C. on the morning of January 6, 2021, at approximately 9:00 a.m., she went to the
rally point where President Donald J. Trump’s Twitter page had instructed all supporters to meet
to hear about the election fraud. Carpenter stated that at the rally point, she heard President
Trump’s words on the jumbo televisions and speakers instructing people to rally back, not leave,
and march to the Capitol. Carpenter stated that at approximately 1:00 p.m., she began to walk with
a large group of people to the Capitol. Carpenter stated that she entered the Rotunda of the Capitol,
where she observed other individuals walking around and leaving with items. Carpenter told FBI
agents that she observed police yelling for individuals to get out, then pushing and shoving the
crowd. Carpenter stated she was trampled and pepper sprayed as she exited the Capitol building.

        During the January 18, 2021 interview with FBI, Carpenter stated that she had taken video
of the interior of the Capitol Building on January 6, 2021 using her cellular phone. On January 19,
2021, Carpenter voluntarily sent me a text message containing video footage of the Capitol. A
screenshot of the text message containing the Capitol video is seen here:
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       I viewed the video attached to the text message from Carpenter, which shows images of
the Capitol Rotunda shot as if the videographer was twirling in a circle as the camera was rolling.
One clip of the video shows a man wearing a distinctive American flag shirt. A still shot of the
man in the American flag shirt from the video sent by Carpenter is below:




        Records received from Verizon show that in January 2021, Carpenter was the subscriber
for the phone number from which the video was sent.

       Closed Circuit Television (CCTV) security video obtained from the inside of the Capitol
Rotunda at or around 2:44 p.m. on January 6, 2021 shows a woman in a red hat, green coat and
black boots carrying a gray backpack entered the Capitol Rotunda with the crowd. The woman in
the green coat appears to take a video recording of the Capitol Rotunda by holding up a small
device and twirling around, before she moves across the room to an exit. A still shot from this
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video showing the woman in the green coat and the man in the distinctive American flag shirt is
below:




        The CCTV video of the Capitol Rotunda next shows the woman cross the room to an exit.
Before exiting, however, the woman turns back to the room and raises here hands in the air. In her
left hand, she holds a tambourine, which she shakes several times before turning back around and
exiting the Rotunda. Two still shots of the woman with the tambourine are shown below:
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        On or about March 2, 2021, FBI agents conducted a court ordered search of Carpenter’s
residence in Richmond Hill, New York. During the search, TFOs discovered a green coat, black
boots and gray backpack like those seen on the woman in the video footage of the Capitol Rotunda.
In the pocket of the green coat there was a Google map of downtown Washington D.C. Photos of
the jacket and backpack are below.
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       During the search, Carpenter identified the coat boots and backpack as the clothing she
wore and bag she carried when she entered the Capitol Building on January 6, 2021. Carpenter
also voluntarily provided the tambourine she confirmed that she carried inside the Capitol, which
appears to be the same type carried by the woman in the video of the Capitol Rotunda.




       During the January 18, 2021 interview with the FBI, Carpenter stated that she returned to
her home in New York the night of January 6, 2021. EZ-Pass records for the account owned by
Sara Carpenter show toll charges progressing from the Washington/Baltimore area toward New
York between approximately 6:00 p.m. and 9:00 p.m. on January 6, 2021.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Carpenter violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
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of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Carpenter violated 40
U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      VINCENT J. MANCO
                                                      Detective/TFO
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18th day of March 2021.
                                                                       2021.03.18
                                                                       18:27:12 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
